Case 3:20-cv-02910-L Document 335 Filed 10/26/21                 Page 1 of 20 PageID 6559




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                                     §
U.S. COMMODITY FUTURES TRADING                       §
COMMISSION, et al.                                   §
                                                     §
                     Plaintiffs,                     §
                                                     §           CIVIL ACTION NO.
v.                                                   §             3:20-CV-2910-L
                                                     §
TMTE, INC. a/k/a METALS.COM, CHASE                   §
METALS, INC., CHASE METALS, LLC,                     §
BARRICK CAPITAL, INC., LUCAS THOMAS                  §
ERB a/k/a LUCAS ASHER a/Ida LUKE ASHER,              §
and SIMON BATASHVILI,                                §
                                                     §
                     Defendants,                     §
                                                     §
TOWER EQUITY, LLC,                                   §
                                                     §
                      Relief Defendant.              §
                                                     §


               APPENDIX IN SUPPORT OF RECEIVER'S
RESPONSE TO PORTFOLIO INSIDER'S MOTION TO PREVENT RECEIVER FROM
   TAKING POSSESSION OF PROPERTY OF A NON-RECEIVERSHIP ENTITY

       Kelly M. Crawford, as the Court appointed Receiver, submits the following Appendix in

Support of the Receiver's Response to Portfolio Insider's Motion to Prevent Receiver From

Taking Possession of Property of a Non-Receivership Entity, as follows:

Exhibit 1     Declaration of Receiver Kelly M. Crawford                   pages 3 - 6

       Exhibit A - Letter to Carlos Cruz                                  pages 8 - 10

       Exhibit B - Intrinio Emails                                        pages 12 - 20

              Email dated October 20, 2020                                page   12

              Email dated November 24, 2020                               page   13


APPENDIX IN SUPPORT OF RECEIVER'S RESPONSE TO PORTFOLIO INSIDER'S MOTION         PAGE I


                                     RESP.APP00001
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                 Email elated October 21, 2020                                page    14

                 Email elated October 26, 2020                                pages 15 - 16

                 Email dated October 30, 2020                                 pages 17 - 20


Dated: October 26, 2021


                                                 Respectfully submitted,

                                                        SCHEEF & STONE, L.L.P.


                                                        By: Isl Peter Lewis
                                                            Peter Lewis
                                                            State Bar No. 12302100
                                                             Pcler. l ,cwis@solidcounsel.com

                                                        500 North Akard, Suite 2700
                                                        Dallas, Texas 7520 l
                                                        Telephone: (214) 706-4200
                                                        Telecopier: (214) 706-4242

                                                        ATTORNEY FOR RECEIVER
                                                        KELLY M. CRAWFORD


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 26, 2021 I electronically filed the
foregoing document with the clerk of the U.S. District Court, Eastern District of Texas, using the
electronic case filing system of the court, which provided a "Notice of Electronic Filing" to all
attorneys of record.
         I




                                                        Isl Peter Lewis
                                                        PETER LEWIS




APPENDIX IN   SUPPORT OF RECEIVER'S RESPONSE TO PORTFOLIO INSIDER'S MOTION             PAGE2


                                       RESP.APP00002
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                        IN THE UNITE]) STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                       §
  U.S. COMMODITY FUTURES TRADING                       §
  COMMISSION, el al.                                   §
                                                       §
                       Plaintiffs,                     §
                                                       §            CIVIL ACTION NO.
    v.                                                 §              3:20-CV-2910-L
                                                       §
  TMTE, INC. a/Ida METALS.COM, CHASE                   §
  METALS, INC., CHASE METALS, LLC,                     §
  BARRICK CAPITAL, INC., LUCAS THOMAS                  §
  ERB a/Ida LUCAS ASHER a/Ida LUKE ASHER,              §
  and SIMON BATASHVILI,                                §
                                                       §
                       Defendants,                     §
                                                       §
 TOWER EQUITY, LLC,                                    §
                                                       §
                       Relief Defendant.               §
                                                       §


                  DECLARATION OF RECEIVER KELLY M. CRAWFORD

         My name is Kelly M. Crawford, I am over 18 years of age, have never been convicted

 of any crime involving moral turpitude and I am fully competent to make this Declaration.

         l.    I am the Receiver appointed by the Court pursuant to an Order Granting Plaintif.fi·'

 Emergency Ex Parle Motion for Statutory Restraining Order, Appointment of Receiver, and

 Other Equitable Relief (the    "SRO'~   entered on September 22, 2020 in the case styled above

 and I have personal knowledge of each of the facts stated below.

         2.    Pursuant to the SRO and other Orders entered by the Court, I am authorized to take

 possession of certain documents and records regarding the Defendants, Relief Defendants, and the

 entities they own or control. Each of the documents and records attached to my declaration were


DECLARATION OF RECEIVER KELLY M. CRAWFORD
                                                                                  EXHIBIT
                                         RESP.APP00003
       Case 3:20-cv-02910-L Document 335 Filed 10/26/21                                 Page 4 of 20 PageID 6562




      obtained by me pursuant to my duties as Receiver under the SRO and I am the custodian of such

      documents. 1 The documents and records were maintained in the regular course of business and it

      was the regular practice for these records and documents to be made. Based upon the production

     of the documents, it is my belief the content of the documents was recorded at or near the event

     described therein and was made by a person with knowledge of the information contained in the

     records.

                3.      As part of my duties as Receiver I traced more than $20 million that was transferred

     from the Defendants to MagicStar Arrow Entertainment, LLC, ("MagicStar"), an entity owned by

     Carlos Cruz. Attached hereto as Exhibit A is a true and correct letter (excluding the enclosures)

     dated May 18, 2021 I sent to Mr. Cruz requesting him to provide me with information regarding

     the goods and services, if any, provided to the Defendants in exchange for the monies received.

     My request was made pursuant to paragraph 34 of the SRO. Mr. Cruz responded to my request

     through his attorney Scott Thomas and he contended Mr. Cruz was not required to produce any

     information to me pursuant to the SRO. After several email exchanges between my counsel Peter

     Lewis and Mr. Thomas, and after Mr. Lewis provided Mr. Thomas with a copy of my Emergency

     Motfon for Show Cause Hearing to Hold Defendants Lucas Asher and Simon Batashvili in Civil

     Contempt [Dkt. 311] (the "Show Cause Motion"), Mr. Thomas produced copies of invoices from

     MagicStar to the Defendants, and two contracts between Defendants and MagicStar and Cruz. Mr.

     Thomas continues to maintain that Mr. Cruz is not subject to the SRO.

              4.       I received several calls from witnesses who told me they worked at Portfolio Insider

     and that Defendants Asher and Batashvili were operating the company. They told me that Portfolio




1   Warfield v. Byron, 436 F.3d 551, 559 (5 111 Cir. 2006)("the Receiver qualified as RDI's record custodian").

DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                                         Page 2


                                                     RESP.APP00004
      Case 3:20-cv-02910-L Document 335 Filed 10/26/21                      Page 5 of 20 PageID 6563




    Insider had employees make cold calls to solicit sales of a product that was promoted as providing

    timely information regarding sales of securities and commodities by some of the nation's most

    well-known investors so that the customer could model their own investing in the same manner.

    As a result of these calls I searched the database 2 I have of documents recovered from the

    Defendants and Relief Defendant for information regarding "Portfolio Insider" and further

    investigated the ties of Defendants Asher and Batashvili to Portfolio Insider.

            5.     On September 22, 2021, my counsel Peter Lewis provided, by electronic mail, a

    copy of my Show Cause Motion to Scott Thomas, counsel for Mr. Cruz.

            6.     In preparation for the hearing on the Show Cause Motion, I sought documents from

    Pipedrive pursuant to the SRO. As set forth in the letter, I provided Pipedrive the relevant Orders

    from the Court and a copy of my Show Cause Motion and the Appendix in Support of the Show

    Cause Motion. Thereafter, I had a telephone call with Fiona O'Connor, counsel for Pipedrive,

    and she informed me of the objection Portfolio Insider was making to Pipedrive producing

    documents to me. I told Ms. O'Connor that until the Court ruled on my Show Cause Motion, I

    was agreeable to receiving only those documents in their possession that reflected communications

    with Defendants Asher or Batashvili or Receivership Defendant Retirement Insider.

            7.     My communications with Pipedrive were limited to obtaining documents. At no

    time did I request Pipedrive to suspend service to Portfolio Insider.

            8.     I have not had any communications with NASDAQ or Polygon.

           9.      I have not sought to or acquired control of Portfolio Insider.

            10.    I have not requested any vendor of Portfolio Insider to suspend service to Portfolio


2
 This is the same database of documents (approximately 57,000 documents) I have made available to
the Plaintiffs and Defendants in this case.

DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                       Page 3


                                            RESP.APPOOOOS
   Case 3:20-cv-02910-L Document 335 Filed 10/26/21                          Page 6 of 20 PageID 6564




  Insider.

             11.      I never sought nor did I obtain any assets of Portfolio Insider.

             12.      I never contacted any financial institutions of Portfolio Insider.

             13.      I never took exclusive custody, control, and possession of Portfolio Insider, or

  attempted to at any time.

             14.      I never took exclusive custody, control, and possession of all websites, cloud

  storage services, email, and accounts at any bank of Portfolio Insider, and nor did I attempt to at

  any point.

             15.      I never secured the business premises of Portfolio Insider and nor did I attempt to

  secure such premises.

             16.      On September 23, 2019 I noticed the deposition of Carlos Cruz to be taken on

 October 19, 2021. In light of the stay ordered by the Court, the deposition was cancelled.

             17.      Attached hereto as Exhibit B are true and correct copies of emails produced by

 Intrinio.         They reflect communications between Intrinio and the Defendants Asher and/or

 Batashvili and/or Retirement Insider that include Defendants Asher and/or Batashvili

 communicating on behalf of Portfolio Insider.

                   I declare under penalty of pe1jury that the foregoing is true and correct and is

  within my personal knowledge.


 Dated:        October 26, 2021




DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                         Page 4


                                               RESP.APP00006
Case 3:20-cv-02910-L Document 335 Filed 10/26/21   Page 7 of 20 PageID 6565




                        EXHIBIT A




                            RESP.APP00007
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                    Page 8 of 20 PageID 6566




                                     l(elly Crawford
                                         Receiver
                                 500 N. Akard, Suite 2700
                                   Dallas, Texas 75201
                                     (214) 706-4213
                            kelly .crawford@solidcounsel.com

                                         May 18, 2021

Via Ovemight Mail mu/ Electro11ic Mail to vcarfoscl'lfz@gmail.com

Cat'los Cruz
MagicStar Arrow Entertainment LLC
929 Colorado Avenue
Santa Monica, California 90401

Carlos Cruz
MagicStar Arrow Entertainment LLC
8555 NW 37 111 Ct.
Hollywood, Florida 33024

Carlos Cruz
MagicStar Arrow Entertainment LLC
3750 S. Robertson Bld.
Culver City, California 90232

      RE:     Commodity Futures Trading Commission, et al v. TMTE, Inc. alkla Metals.com,
              Chase Metals, Inc., Chase Metals, LLC, Barrick Capital, Inc., Lucas Thomas Erb
              alkla Lucas Asher alkla Luke Asher, Simon Batashv;/i, Defendants and Tower
              Equity, LLC, ReUef Defendant.,· Cause No. 3:20-CV-2910-L; pending in the
              United States District Court for the Northern District o~Texas, Dallas Division

Dear Mr. Cruz:

          I am the Court appointed Receiver in the case referenced above. Copies of (1) the Order
 Gm11ti11g Plaintiffs' Emergency Ex Parle Motion for Stat11to1J' Restmi11i11g Order,
Appoint111e11t of Receiver, amt Otlter Equitable Relief (the "SRO"); (2) the Co11se11t Order of
Preliminmy /ujunction as to Lucas Tltomas Erb a/k/a/Luc(ls Aslter a/kla Luke Asher and
Simon Batasltvili (the "Individuals Consent Order"); and (3) the Consent OJ'der of Preliminal')'
/11j1111clio11 as to Defendant TMTE, Inc. <lib/a Metals.com, Chase Metals, LLC, Metals, Jue.,
Barrick Capital, Inc., mu/ Relief Defendant Tower Equity, LLC (the "Entities Consent Order")
are enclosed for your review. Also enclosed is Order Gra11tillg Receiver's Motion to Identify
Certain Entities i11 Receivers/tip (the "Additional Entities Order"). The SRO, Individuals
Consent Order, Entities Consent Order, and Additional Entities Order are collectively referred to
herein as the "Receivership Orders."


                                      RESP.APP00008
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                   Page 9 of 20 PageID 6567

May 18, 2021


        The Receivership Orders direct and authorize me to take custody, control, and possession
of all assets of the Defendants and Relief Defendant and of all records of the Defendants and
Relief Defendants. (see SRO, i!30). The Receivership Orders extend to each of the following
Defendants and Relief Defendants as well as any affiliates or subsidiaries owned or controlled by
the following Defendants and Relief Defendant (collectively, the "Receivership Defendants''):

       TMTE, Inc., also known as Metals.com

       Chase Metals, Inc.

       Chase Metals, LLC

       Barrick Capital, Inc.

       Luca Thomas Erb, also known as Lucas Asher, also known as Luke Asher

       Simon Batashvili

       Tower Equity, LLC

        Based upon my investigation it appears significant sums of money were transferred by
the Receivership Defendants to your entity MagicStar Arrow Entertainment, LLC ("MagicStar").
The 1099 for 2019 alone reflects $10 million that was transferred from Receivership Defendant
TMTE, Inc. to MagicStar. Indeed, based upon the bank records of the Receivership Defendants,
it appears that more than $20 million was transferred to your entity as follows:

       Chase Metals            $20, l 08,061

       Tower Equity            $115,000

       Barrick Capital         $371,713

       TOTAL:                  $20,594,774

If you believe the foregoing number is incorrect, please provide me with the amount of monies
you contend MagicStar received from the Receivership Defendants.

Please identify all goods and services provided by MagicStar to the Receivership Defendants that
you contend constitute reasonably equivalent value for the monies MagicStar received from the
Receivership Defendants, and include in your response documents that support your contention.

       Pursuant to Paragraph 34 of the SRO you are required to cooperate fully with me as the
Receiver. As Receiver I am determining whether the receivership has a claim against MagicStar
to recover the monies transferred from the Receivership Defendants as fraudulent transfers.
Please provide such information by on or before June 1, 2021.




                                        RESP.APP00009
Case 3:20-cv-02910-L Document 335 Filed 10/26/21          Page 10 of 20 PageID 6568

May 18, 2021
Pa e 3




                                        Sincerely,        ~             (·--)
                                           ~ Q.                 -~;:,C,.y '~.
                                         Kell~
                                          \ I\(~~wford                          ---
                                        Rece1ve1 ...__/


Enclosures

cc:   Chaselawyers
      21 SE 1st Avenue, #700
      Miami, Florida 33131
      (w/enclosures)

      Etienne Christian
      8555 NW 37 111 Ct.
      Hollywood, Florida 33024
      (w/enclosures)




                                 RESP.APP00010
Case 3:20-cv-02910-L Document 335 Filed 10/26/21   Page 11 of 20 PageID 6569




                         EXHIBIT B




                            RESP. APP00011
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                           Page 12 of 20 PageID 6570


 Re: Progress Sync Meeting Invite 10/23

 From:             Corporate Headquarters <corporate@porlfolioinsider.com>
 Sent:             October 20, 2020 1:37:38 PM EDT
 Received:         October 20, 2020 1:37:52 PM EDT
 To:               adiraimondo <adiraimondo@zacks.com>
 Cc:               konstantine@portfolioinsider.com, Konstantin Yurchenko
                   <konstantin@portfolioinsider.com>, Flavia Russo <frusso@intrinio.com>, Jon
                   Knotts <jknolts@zacks.com>, Andrew Carpenter <acarpenter@intrinio.com>,
                   Lucas Asher <Asher@towertrade.com>, Rima Ziurailis <rziurailis@zacks.com>
 HI Ausra,

 Thanks for the note.

 1. We would love to speak with you about progress, what time works best for you?

 2. I don't see an invoice on your email? Can you please send? I am not sure if Andrew/Intrinio told you, but,
 we pivoted to our new brand "Portfolio Insider." Subsequently, this is the correct (and only) email for all
 billing corporate@portfolioinsider.com

 3. Please mail to "Portfolio Insider" 9465 Wilshire Boulevard suite #300. Beverly Hills, CA 90212

 Thanks!

 -Lucas

 On Mon, Oct 19, 2020 at 9:48 AM adiraimondo <adiraimondo@zacks.com> wrote:
  Hi Lucas, and Konstantin,

   I'm following up on some outstanding items:

   1) progress meeting regarding current feeds and the Portfolio Tracker
   2) Outstanding invoice for proprietary data (not currently offered for
   redistribution to other clients): $17,500
   3) the books sent lo Lucas came back. Can you provide a new address for
   re-shipment?

   Kind regards,

   Ausra

   On 2020-10-09 13: 18, adiraimondo wrote:
   > Hi Lucas, and Konstantin,
  >
  >Please let me know if you can meet today for our usual weekly meeting,
  >and if you received the books.
  >
  > If so, Twi II send out and invite.
  >
  > Kind regards,
  >
  > Ausra




                                          RESP.APP00012
                                                                                                   INTRINI0_001591
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                             Page 13 of 20 PageID 6571


 Re: ADRs/OTC Fundamentals and Zacks Invoice

 From:                       Corporate Headquarters <corporate@porlfolioinsider.com>
 Sent:                       November 24, 2020 4:32:09 PM EST
 Received:                   November 24, 2020 4:32:24 PM EST
 To:                         Andrew Carpenter <acarpenter@intrinio.com>
 Hi Andrew,

 As you know, all agreements are honored.

 Two requests,

 1: Remove Retirement Insider and replace it with portfolio Insider, LLC.
 2. What is the term? ls this monthly? I don't see what term this l 7k represents?

 On Tue, Nov 24, 2020 at 8:47 AM Andrew Carpenter <aearpenter@intrinio.com> wrote:
   Lucas,

   I am working to get OTC/ADR fundamentals from Zacks for Kyle.

   I think I can swing it, but Zacks won't move on it with the outstanding invoice they have for Pl.

   I attached their invoice- can you pay that?

   I am talking to Ausra about the fundamentals this afternoon.

   The fastest way for us to get their fundamentals into your hands would be via FTP.

   Keep your powder dry,




   Chicf"Opcrating Orticcr
   INTRINIO
   www.intrinio.com
   600 First i\ venue North, Suite 203       -I (727)331-3416
   Saint Petersburg, Florida 33701          acarpenter@intrinio.com




                                             RESP.APP00013
                                                                                                       INTRINI0_002564
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                               Page 14 of 20 PageID 6572


 Re: Set up Feed

 From:                       Corporate Headquarters <corporate@portfolioinsider.com>
 Sent:                       October 21, 2020 12: 12: 15 PM EDT
 Received:                   October 21, 2020 12:12:31 PM EDT
 To:                         Andrew Carpenter <acarpenter@intrinio.com>
 Can I see technically speaking what the tech (secret sauce) is ... If all I am licensing is a press release
 aggregator that won't be as interesting to me

 On Wed, Oct 21, 2020 at 9: 10 AM Andrew Carpenter <acarpenter({v,intrinio.com> wrote:
   Jeff,

   Meet l<onstantin, he is the CTO of Portfolio Insider.

   I've also copied Lucas, CEO, on their main email, corporate@portfolioinsider.com

   They are ready to get going with the test feed you and Steele have been discussing.

   They are particularly interested in press releases and news surrounding earnings releases but I know
   they are going to be able to take advantage of Naviga in many ways.

   If you can set Konstantin up with testing I will coordinate with Lucas regarding the commercials.

   Keep your powder dry,




   Chief Operating Officer
   INTRINIO
   www.intrinio.com
   600 Fir$t J\ venue North. Suire 203       -I (727)331-3416
   Saint Petersburg, Florida 3370 I         acarpenter@intrinio.com




                                             RESP.APP00014
                                                                                                         INTRINI0_001595
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 RE: SIP Vs. NASDAQ Basic for dark pool data

 From:                 Yates Sayers <ysayers@intrinio.com>
 Sent:                 October 26, 2020 4:30:05 PM EDT
 Received:             October 26, 2020 4:30:06 PM EDT
 To:                   Corporate Headquarters <corporate@portfolioinsider.com>, Andrew Carpenter
                       <acarpenter@intrinio.com>
 Cc:                   Konstantin Yurchenko <konstantin@portfolioinsider.com>, Flavia Russo
                       <frusso@intrinio.com>, Marketing Department <cc@portfolioinsider.com>, Steele
                       Barcomb <sbarcomb@intrinio.com>, Simon Portfolio Insider
                       <simon@portfolioinsider.com>, l<yle Portfolio Insider <kyle@portfolioinsider.com>
 Hi Lucas,

 You got it. I'll set up a call this week. Will try for tomorrow as I know that dark pool data via the consolidated tape is
 a priority.

 Do you mind if I include QUODD as well? They'll have more insight Into these fees and various options than I do.

 I do have a few thoughts off the top of my head. Would want to cross check these all with QUO DD which we can do
 on the call.

         • I believe the real-time Nasdaq SIP/UTP strictly includes primary Nasdaq listed securities, so that SIP fee
           would strictly provide coverage for, and data on, Nasdaq listed securities only. That $441,600/year fee would
           essentially triple once you add in the real-time NYSE SIP/CTA Tape A and B fees to include full Nasdaq and
           NYSE coverage.



         • With that in mind, real-time Nasdaq Basic would be a good option. The Nasdaq Basic covers all Nasdaq and
           NYSE listed securities, with all actual pricing data coming from the Nasdaq venue, meaning you'd be liable
           only for the Nasdaq exchange fees. However, Nasdaq still charges a $2,000/month exchange fee to display
           their real-time Basic prices, plus per user fees depending on pro and non-pro classifications. Still, would
           provide real-time prices for that full Nasdaq and NYSE coverage without any of the NYSE fees.

         • I believe these exchanges also offer a per query fee, rather than a flat per user fee. Not sure If that makes
           sense, but worth mentioning in case we can save you on that variable fee.

 Thanks and will send out an invite shortly. Let me know if the time doesn't work for you.

 Best,



 Vice President, Sales
 lntrinio

 intrinio.com
 600 First Avenue North, Suite 203
 Saint Petersburg, Florida 33701             ysayers@inlrinio.com


From: Corporate Headquarters <corporate@portfolioinsider.com>
Sent: Monday, October 26, 2020 3:50 PM
To: Andrew Carpenter <acarpenter@intrinio.com>
Cc: Konstantin Yurchenko <konstantin@portfolioinsider.com>; Yates Sayers <ysayers@intrinio.com>; Flavia Russo
<frusso@intrinio.com>; Marketing Department <cc@portfoliolnsider.com>; Steele Barcomb
<sbarcomb@intrinio.com>; Simon Portfolio Insider <simon@portfolioinsider.com>; Kyle Portfolio Insider
<kyle@portfolioinsider.com>; Corporate Headquarters <corporate@portfolloinsider.com>
Subject: SIP Vs. NASDAQ Basic for dark pool data




                                                 RESP.APP00015
                                                                                                                INTRINI0_001696
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                                                                  Page 16 of 20 PageID 6574



 Hi Team,

 Dark Pool (ATS) question.

 Nasdaq SIP apparently will cost $441,600 yr for only 500 users. (real time)

 I want to discuss a method where we combine basic and delay the SIP.

 Clearly paying $441,600 yr for only 500 users is going to make the unit economics challenging.

 However, I could have the SIP for my top tier subscribers, and offer delayed dark pool data with basic.



 Please set up      iJ   calendar this week to discuss the <Jbove topic

 Thanks




 Lucas, Ext 777

 Portfolio Insider
 Corporate@Portfoliolnsider.com

 Portfolio Insider
 {866) 980-2909
 support@portfolioinsider.com

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 or potential performance Is not, and should not be construed as, a recommendation or as a guarantee of any specific outcome or profit.


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 advice.




                                                                RESP.APP00016
                                                                                                                                                      INTRINI0_001697
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                               Page 17 of 20 PageID 6575



 Re: BUY/SELL analyst ratings
 From:                         adiraimondo <adiraimondo@zacks.com>
 Sent:                         October 30, 2020 12:49:27 AM EDT
 Received:                     October 30, 2020 12:49:34 AM EDT
 To:                           Yates Sayers <ysayers@intrinio.com>
 Cc:                           Corporate Headquarters <corporate@portfolioinslder.com>, Andrew Carpenter
                               <acarpenter@lntrinlo.com>, Konstantin Yurchenko <l<onstantin@portfolioinsider.com>,
                               Jennifer Hacker <jennlfer.hacl<er@portfolioinsider.com>, Marketing Department
                               <cc@portfolioinsider.com>, Simon Portfolio Insider <simon@portfolioinsider.com>


 Hi Lucas, Andrew, Yates,


 I had an informative discussion with Jennifer about what we are
 providing to Pl, and will be sending an updated spreadsheet with greater
 detail for her. It was nice to "meet" her. I will include the item still
 outstanding, the Portfolio Tracker, which we need a meeting over.


 I have asked Jim to provide lntrinio with the Street consensus, and will
 need an addendum signed by Pl, and one signed by lntrinio for the data.
 We will not charge for that data but the provision needs to be
 documented. I'll be sending it tonight.


 We have one outstanding invoice which remains outstanding.


 We have some OTC data but, not a large universe. I will send the list of
 tickers to you.


 Stay safe and well.


 Kind regards,


 Ausra


 On 2020-10-28 14:38, Yates Sayers wrote:


 Hi Lucas, All of that estimate and ratings data you have access to
is pulled from Zacks. You'll find the analyst ratings specifically
on the page below, under the broker recommendations section


Caution! This message was sent from outside your organization.
Allow sender [1] I Block sender [2]


sophospsmartbannerend


Hi Lucas,


• All of that estimate and ratings data you have access to is pulled
from Zacks. You'll find the analyst ratings specifically on the page
below, under the broker recommendations section:


https ://www.zacks.com/stock/research IL VS/brokerage-recommendations [3]



                                                   RESP.APP00017
                                                                                                       INTRINI0_001819
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                         Page 18 of 20 PageID 6576



 And from our API to see that it's matching:


 https://api-
 v2.intrinio.com/zacks/analyst_ralings?identifier=LVS&api_key=OjljMjViZjQzNWU4NGExZWZIZTFmNTY4ZDU5Zml5Z
 DIO
 [4]


 The Zacks Rank you're seeing there Is a proprietary, custom
 calculation unrelated to the actual analyst recommendations from
 brokerage firms covering the company. I don't know how they're
 calculating that, but I'll find out more from Zacks. This also might
 be included in your editorial content (I'm not positive on that, but
 this seems like one of those custom, proprietary, non-public items
 that may be included). Emailing Zacks about it now and will look Into
 the Quant rating on Seeking Alpha as well to see what I can find.


 * Let me present this to Naviga as well and ask for their
 advice/recommendations for what they can do. I can prep them to
 discuss this and show anything they have on the call with them
 tomorrow as well.


 Thanks and will be back to you soon,


 Yates Sayers


 Vice President, Sales


 lntrlnio


intrinio.com [5]


600 First Avenue North, Suite 203


Saint Petersburg, Florida 33701


m: +1 (727) 475-1295


e: ysayers@intrinio.com


FROM: Corporate Headquarters <corporate@portfolioinsider.com>
SENT: Wednesday, October 28, 2020 2:50 PM
TO: Andrew Carpenter <acarpenter@intrinio.com>
CC: Yates Sayers <ysayers@intrinio.com>; Konstantin Yurchenko
<konstantin@porlfolioinsider.com>; Jennifer Hacker
<jennifer.hacker@portfoliolnsider.com>; Marketing Department
<cc@portfolioinsider.com>; adiraimondo <adiraimondo@zacks.com>; Simon
Portfolio Insider <simon@portfolioinsider.com>
SUBJECT: BUY/SELL analyst ratings


Yates/team,




                                                RESP.APP00018
                                                                                             INTRINI0_001820
Case 3:20-cv-02910-L Document 335 Filed 10/26/21                            Page 19 of 20 PageID 6577



 I am concerned about the analyst recommendation accuracy on Portfolio
 Insider.


 I have the following questions:


 1. Where are we pulling this from? (If zacks, then, why is it
 different from zacks?)


 2. How can we model seeking alpha with multiple ratings (professional
 and alternative "consensus ratings" using NAVIGA to improve (It's
 clearly flawed)


 SPECIFICALLY, LET'S LOOK AT THE STOCK "LTV"


 1. Zacks is showing it as a strong sell (see attached)


 2. Seeking alpha is showing is as a strong sell (see altached)


 3. Portfolio insider is showing 9 analysts and recommending it as a
 buy (see attached)


 We do not want to show contrarian data like that? I don't even know
 why we are going against our API vendors recommendations to sell.


 Please advise,




 Lucas, Ext 777




 _Portfolio Insider_


 Corporate@Portfoliolnsider.com


 PORTFOLIO INSIDER [6]


_(866) 980-2909_


_ support@portfolioinsider.com_


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                                                RESP.APP00019
                                                                                           INTRINI0_001821
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 y9icm9rZXJhZ2UtcmVjb21 tZW5kYXRpb25z&amp;i=NWU4NDMzYzJm YTcwM2MxNzg2MzA 1YWFl&amp;t=ckNxRElv
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 OWkRVNVptSTVaREkw&amp; i=NWU4NDMzYzJmYTcwM2MxNzg2MzA 1YWFl&amp;t=RIRjL3FOWjhvbVFzWGYrR1
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bnM=&amp;i=NWU4NDMzYzJmYTcwM2MxNzg2MzA1YWFl&amp;t=NW5QbEFveVN4cDBKSE51bUowc3J3SOl4c25x
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